Case 21-01025-BFK            Doc 33 Filed 06/06/21 Entered 06/07/21 00:16:16                  Desc Imaged
                                  Certificate of Notice Page 1 of 3
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Alexandria Division
                                           200 South Washington Street
                                              Alexandria, VA 22314

                                                            Case Number 21−10325−BFK
                                                            Chapter 7
                                                            Adversary Proceeding Number 21−01025−BFK
In re: Ivan Eduardo Alva                                    Judge Brian F. Kenney

Deirdre Ann White

                                             Plaintiff(s)

V.

Ivan E. Alva

                                           Defendant(s)




                                             NOTICE OF HEARING

A

31 − Motion to Quash Debtor's Motion to Dismiss and to Award Sanctions (Re: related document(s)30 Answer to
Complaint filed by Ivan E. Alva, Ivan E. Alva, Counterclaim) filed by Michael N. Lau. (Attachments: # 1
Exhibit(s)) (Douglass, Elizabeth)
 has been filed with the court.

Notice is hereby given that a hearing to consider and act upon said matter will be held at:

Date: June 22, 2021                Time: 09:30 AM

Location:

Judge Kenney's Courtroom, U.S. Bankruptcy Court, 2nd Floor, 200 S. Washington St., Ctrm I, Alexandria, VA
22314




Dated: June 4, 2021                                         For the Court,

                                                            William C. Redden, Clerk
[VAN022BKAPvDec2009.jsp]                                    United States Bankruptcy Court
       Case 21-01025-BFK                    Doc 33 Filed 06/06/21 Entered 06/07/21 00:16:16                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
White,
         Plaintiff                                                                                                     Adv. Proc. No. 21-01025-BFK
Alva,
         Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0422-9                                                  User: chandlerk                                                             Page 1 of 2
Date Rcvd: Jun 04, 2021                                               Form ID: VAN022                                                            Total Noticed: 6
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 06, 2021:
Recip ID                   Recipient Name and Address
db                     +   Ivan Eduardo Alva, 5928 Cove Landing Rd., Apt. 302, Burke, VA 22015-4741
aty                    +   Michael N Lau, Law Office Of Lau & Associates, 10517 West Drive, Unit B, Fairfax, VA 22030-8144
aty                    +   Suad Bektic, New Day Legal, PLLC, 98 Alexandria Pike, Suite 10, Warrenton, VA 20186-2849
pla                    +   Deirdre Ann White, Law Office Of Lau & Associates, LLC, 10517 West Drive, Unit B, Fairfax, VA 22030-8144
dft                    +   Ivan E. Alva, 5908 Cove Landing Rd., Apt 204, Burke, VA 22015-4721
pla                    +   Michael N. Lau, 10517 West Drive, Unit B, Fairfax, VA 22030-8144

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason     Name and Address
cd               *+                Deirdre Ann White, Law Office Of Lau & Associates, LLC, 10517 West Drive, Unit B, Fairfax, VA 22030-8144
cc               *+                Ivan E. Alva, 5908 Cove Landing Rd., Apt 204, Burke, VA 22015-4721
cd               *+                Michael N. Lau, 10517 West Drive, Unit B, Fairfax, VA 22030-8144

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 06, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 4, 2021 at the address(es) listed below:
Name                               Email Address
John C. Morgan, Jr.
                                   on behalf of Counter-Claimant Ivan E. Alva rhonda@NewDayLegal.com
                                   jcmlaw123@gmail.com;jcm@ecf.inforuptcy.com;bkdocs@newdaylegal.com;r49876@notify.bestcase.com;andy@newdaylegal.co
     Case 21-01025-BFK        Doc 33 Filed 06/06/21 Entered 06/07/21 00:16:16   Desc Imaged
                                   Certificate of Notice Page 3 of 3
District/off: 0422-9                       User: chandlerk                           Page 2 of 2
Date Rcvd: Jun 04, 2021                    Form ID: VAN022                          Total Noticed: 6
                          m


TOTAL: 1
